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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 Dorothy Nairne, et al.,

         Plaintiffs,

 v.
                                                  Civil Action: 3:22-cv-00178

 Kyle Ardoin, in his official capacity as
 Secretary of State for Louisiana,

         Defendant.


                           MOTION TO WITHDRAW AS COUNSEL

       NOW INTO COURT, through undersigned counsel, comes Intervenor-Defendant the State

of Louisiana, through Louisiana Attorney General Jeff Landry, who respectfully submits this

motion to withdraw Angelique Freel as counsel of record in this matter.

       Angelique Freel currently represents the Intervenor-Defendant and is employed as an

Assistant Attorney General in the Louisiana Department of Justice. She is leaving her employment

in the Louisiana Department of Justice. The State of Louisiana will remain represented by the

other counsel enrolled in this suit.

       WHEREFORE, Intervenor-Defendant the State of Louisiana, through Louisiana Attorney

General Jeff Landry, respectfully prays that this motion be granted and Angelique Freel be

withdrawn as counsel of record in this matter.
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                             Respectfully submitted,

                             Jeff Landry
                             Louisiana Attorney General

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 3rd day of January, 2024, the foregoing has been sent

electronically to all counsel of record.

                                           /s/ Jeffrey M. Wale
                                             Jeffrey M. Wale
